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                IN THE UNITED STATES DISTRICT COtJRT


               FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                        U. S. 0!STRSCT COURT
                            SAVANNAH DIVISION          Soulhern Olsttict of Ga.
                                                           . Filed in Office


THE UNITED STATES OF AMERICA,                                             gfl If
                                                             Deputy
               Plaintiff,

                V.                          4:17CR262


TRISHON COLLINS,


              Defendant.




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



                             J
     SO ORDERED, this P2. day of February, 2018




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
